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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

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UNITED STATES DISTRICT COURT
for the AUG 22 2024
SoH District of MEEZSLAL fia On cuore

COMHELM. Division

carne, 3: M44 LETUs

(to be filled in by the Clerk's Office)

Plaintiff(s)
(Write the fuil name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

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Defendant(s) HARLAN, MAILS
(Write the full name of each defendant who is being sued. If the
names of ail the defendants cannot fit in the space above, please )
write “see attached" in the space and attach an additional page
with the full list of names. Do not include addresses here.)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should no¢ contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis. Y

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1. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name DERM EABOLL,
All other names by which
you have been known: BEML. BID IE
ID Number (61698 C /
Current Institution Mississpoal State Hentitent taht At Lothian Le Ln)
Address (45D) Hoeft? Mak nest: PAS BHO L Lyleitiertl CABS
Loh Mia hel Mb. MESEUOL IB 7S.
City State ‘ode —

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (fknown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1 )
Name Misissctt: Deanatracncé of (weet ALFA ech, EG.
Job or Title (if known) Mu SS; Sipps SATE Pek renreery

Shield Number Ni
Employer STATE OF MESSISSLPPL
Address (ans) Hud P93 WORTH WEST 2 O-BOX 1057 Patched
Prectianal AMiS.5: 3S LE
City State Zip Code

NY Individaal capacity YI] Official capacity

Defendant No. 2

Name Lado y d: boul ML) FoR (DOC »)
Job or Title (if known) . / A Ok OF | f em bot »)

Shield Number _N Kilownl
Employer STATE OF MidSe
Address 301 Mok TH LAMAR STREET.
DackKsal Miss 99.9201
City Sta Zip Cade

(A thdividual capacity i: Official capacity

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Defendant No. 3
Name
Job or Title (if known)
Shield Number
Employer
Address

City State Zip Code
[] Individual capacity [| Official capacity

Defendant No. 4
Name
Job or Title (if known)
Shield Number
Employer
Address

City State Zip Code
[| Individual capacity |__| Official capacity —

Il. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1 971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
C] Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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Panishanere? « Celberads inl iteaealtl at ell as a fi bine -fo- Fes tec? Aad Fibth Ate
C. Plaintiffs suing wsler Bivens may only recover for the violation of certain constitutional rights If you
are suing under? ivens, what constitutional right(s) do you claim is/are being violated by federal
officials? ne

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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local Jaw. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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Indicate whether you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee
Civilly committed detainee

Immigration detainee

Convicted and sentenced federal prisoner

CJ
LI
C]
NY] Convicted and sentenced state prisoner
CJ
C]

Other (explain)

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

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B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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C. What date and approximate time did the events giving rise to your claim(s) occur?

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2624 AN dis $tillan Ate Letstittlti Sit pitch lube: fattuAl Volaknal g
D What are the facts underlying your claim($? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

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V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

tb as ab abfnchtd kx hibit a Factual violation’

VI. ‘Relief
State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VII. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “(n]Jo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are

exhausted.” ce ae fal Aachted Exhibit &B,0DF
Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not

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exhausted your administrative remedies SEE AS AM ABA c J d “Ly J, } by “u f A B, CG b, F

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?
Yes

[| No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

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B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

Yes

[| No
“re! [| Do not know

C. Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[ ] Yes
[| No

Do not know

If yes, which claim(s)?

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D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint? ,

[| No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[| Yes

No

E. If you did file a grievance:

1. Where did you file the grievance?

n/f

2. What did you claim in your grievance?

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3. What was the result, if any?

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4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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F. If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

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2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

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G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VU. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

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L] No nthen héis FRESE L unldel. Dra nat WEF DA WMECR: BF SELIILAS (paicr /

Ludny. seeas Attached Exhibit =" ID,

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[| Yes
[LNo

B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit

Plaintiff(s) N/a
Defendant(s) , J a
Af

2. Court (if federal court, name the district; if state court, name the county and State)

Wa
v

3. Docket or index number
up
4. Name of Judge assigned to your case
fo

5. Approximate date of filing lawsuit
‘7

wi

6. Is the case still pending?

[| Yes nif

No

If no, give the approximate date of disposition. if Hy
ye

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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C. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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[J Yes
iy
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D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. (Cf there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s) N/a
Defendant(s) wth
Mi

2. Court (if federal court, name the district; if state court, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

fa
5. Approximate date of filing lawsuit
ve
N/A
mT
6. Is the case still pending?
/
[] Yes Ny fe
[_]No
If no, give the approximate date of disposition al, /; fh
FEE

4. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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IX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, ! certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or bya
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes toufiy address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case. --

Date of signing: Auulzast- ge vo _ 202%. ™

Signature of Plaintiff 1 a (L

Printed Name of Plaintiff BGs Dean __

Prison Identification # Nl 676? g

Prison Address (nse) Mob 4 ile het, P.d.faXlo 57
ihanal S15. E798

City State Zip Code
B. For Attorneys

Date of signing: J I) Ft
c

Signature of Attorney

Printed Name of Attorney K / if
Bar Number / V/ fe
a /

Name of Law Firm
Address /

City ' State Zip Code
Telephone Number

E-mail Address

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